                                                           Case 2:18-cv-01355-APG-CWH Document 32 Filed 02/13/19 Page 1 of 8



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                                                       8   and Jared T. Finkelstein

                                                       9                              UNITED STATES DISTRICT COURT

                                                      10                                     DISTRICT OF NEVADA

                                                      11                                                  CLASS ACTION
                                                      12                                                  Civil Action No.: 2:18-cv-01355-APG-CWH
             3883 Howard Hughes Parkway, Suite 1100




                                                           IN RE DIAMOND RESORTS
                                                      13
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                                                           INTERNATIONAL, INC. SECURITIES                 DEFENDANTS’ JOINT MOTION FOR AN
                    Las Vegas, Nev ada 89169




                                                           LITIGATION                                     INTERIM STAY PENDING RESOLUTION
                         LAW OFFICES




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                                                                                                          OF DEFENDANTS’ JOINT MOTION FOR
                              L.L.P.




                                                                                                          A STAY
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                                                      16

                                                      17

                                                      18          Defendants Diamond Resorts International, Inc. (“Diamond”), David J. Berkman, Richard
                                                      19   M. Daley, Jared T. Finkelstein, Frankie Sue Del Papa, Jeffrey W. Jones, David F. Palmer, Hope
                                                      20   S. Taitz, Zachary D. Warren, and Robert Wolf (together, “Defendants”), by their undersigned
                                                      21   counsel, respectfully submit this Joint Motion for an Interim Stay Pending Resolution of
                                                      22   Defendants’ Joint Motion to Stay (the “Motion”).
                                                      23   ///
                                                      24   ///
                                                      25   ///
                                                      26   ///
                                                      27   ///
                                                      28   ///

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                                                           Case 2:18-cv-01355-APG-CWH Document 32 Filed 02/13/19 Page 2 of 8



                                                       1   ///

                                                       2          This Motion is based on the Declaration of Robert N. Kravitz, Esq., the Memorandum of

                                                       3   Points and Authorities, all pleadings, documents and records on file with this Court, any

                                                       4   exhibit(s) submitted herewith, and on any oral argument on behalf of Defendants that the Court

                                                       5   may entertain.

                                                       6          DATED this 13th day of February, 2019.

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                                                           Case 2:18-cv-01355-APG-CWH Document 32 Filed 02/13/19 Page 3 of 8



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                                                                                                                 Robert Wolf
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                                                      15

                                                      16

                                                      17                           MEMORANDUM OF POINTS AND AUTHORITIES

                                                      18                                                       I.
                                                                                                         INTRODUCTION
                                                      19

                                                      20           Defendants seek a brief, interim stay so that they can defer filing their motions to dismiss

                                                      21   the Amended Complaint in its entirety until the Court has a chance to consider Defendants’

                                                      22   motion to stay the entire case pending the U.S. Supreme Court’s review of a Ninth Circuit

                                                      23   decision in the Emulex 1 case (the “Joint Motion to Stay”) [ECF No. 31].

                                                      24           Plaintiffs filed their Amended Complaint on December 17, 2018 [ECF No. 26]. Pursuant

                                                      25   to an earlier scheduling order, the parties were to “meet and confer to set a reasonable schedule

                                                      26   for Defendants to move, answer or otherwise respond to the [Amended Complaint], and for any

                                                      27
                                                           1
                                                            Emulex Corporation, et al. v. Varjabedian, et al., 888 F.3d 399 (9th Cir. 2018), No. 18-459, cert. granted 1/4/2019.
                                                      28   A brief factual background of the Emulex matter is presented in the Joint Motion to Stay and is omitted here for
                                                           purposes of judicial economy.

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                                                       1   subsequent briefing.” [ECF No. 25]. During the course of the parties’ discussions on a briefing

                                                       2   schedule, the Supreme Court granted the petition for certiorari in Emulex, a case that is potentially

                                                       3   dispositive on whether Plaintiffs have a case here at all.

                                                       4              As discussed in the Joint Motion to Stay, Defendants proposed to Plaintiffs that the entire

                                                       5   case should be stayed pending the Supreme Court’s decision in Emulex. Plaintiffs declined to

                                                       6   consent to such a stay. See Declaration of Robert N. Kravitz, Esq., attached. Accordingly,

                                                       7   Defendants submitted the Joint Motion to Stay to seek a determination by the Court on that issue.

                                                       8              In this Motion, Defendants seek an interim stay while the Joint Motion to Stay is pending.

                                                       9   Plaintiffs did not consent to an interim stay, either. 2 Id.

                                                      10                                                         II.
                                                                                                              ARGUMENT
                                                      11

                                                      12              Defendants’ request for a brief, interim stay until resolution of the Joint Motion to Stay is
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                                                      13   warranted and prudent. A district court has discretionary power to stay proceedings in its own
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                                                      14   court. Bd. of Trustees of the Constr. Indus. & Laborers Health & Welfare Tr. v. Bruns-Wit, No.
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                                                      15   2:14-CV-01087-MMD, 2015 WL 3725504, at *2 (D. Nev. June 15, 2015) (citing Landis v. N.

                                                      16   Am. Co., 299 U.S. 248, 254-55 (1936); see also Lockyer v. Mirant Corp., 398 F.3d 1098, 1109

                                                      17   (9th Cir.2005). “A trial court may, with propriety, find it is efficient for its own docket and the

                                                      18   fairest course for the parties to enter a stay of an action before it, pending resolution of

                                                      19   independent proceedings which bear upon the case.” Leyva v. Certified Grocers of Cal., Ltd., 593

                                                      20   F.2d 857, 863 (9th Cir.1979) (finding that the rule applied regardless of nature of the separate

                                                      21   proceedings and does not require that the issues in such proceedings are necessarily controlling of

                                                      22   the action before the court.) “When considering a motion to stay, the district court should

                                                      23   consider three factors: (1) potential prejudice to the non-moving party; (2) hardship and inequity

                                                      24   to the moving party if the action is not stayed; and (3) the judicial resources that would be saved

                                                      25   by avoiding duplicative litigation if the cases are in fact consolidated.” Pate v. Depuy

                                                      26   Orthopaedics, Inc., No. 2:12–cv–01168–MMD–CWH, 2012 WL 3532780, at *2 (D. Nev. Aug.

                                                      27

                                                      28
                                                           2
                                                               The parties have not yet formally submitted a schedule for the motions to dismiss the Amended Complaint.

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                                                       1   14, 2012) (quoting Rivers v. Walt Disney Co., 980 F.Supp. 1358, 1360 (C.D. Cal.1997) (internal

                                                       2   quotation marks omitted).

                                                       3   A.         Plaintiffs will not be Unfairly Prejudiced by Granting a Temporary Stay
                                                       4              Plaintiff will not suffer unfair prejudice as a result of a temporary stay pending resolution

                                                       5   of the Joint Motion. It would be a waste of judicial resources and the parties’ resources to brief

                                                       6   the motions to dismiss the Amended Complaint before the Court has an opportunity to decide

                                                       7   whether to grant a stay. Should the Court grant the Joint Motion, all proceedings, including

                                                       8   Defendants’ time to move to dismiss the Amended Complaint or file a responsive pleading, will

                                                       9   be stayed until resolution of the Emulex case. If the Court denies the Joint Motion, Defendants

                                                      10   will file their motions to dismiss the Amended Complaint pursuant to a schedule agreed upon by

                                                      11   the parties and approved by the Court. In either case, the temporary stay afforded by this Motion

                                                      12   for an interim stay will be of short duration, and will not unfairly prejudice Plaintiff in any way.
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                                                      13   Oral arguments at the U.S. Supreme Court in Emulex are set for Monday, April 15, 2019. 3
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                                                           B.         Defendants will be Subject to Unfairness if the Action is not Stayed
                              L.L.P.




                                                      15              In contrast, Defendants will suffer hardship and inequity if the Court denies this Motion.

                                                      16   In denying the Motion, Defendants would be forced to prepare and file motions to dismiss on

                                                      17   issues that may be moot by resolution of the Emulex case or, alternatively, by granting the Joint

                                                      18   Motion. A brief, interim stay will prevent unnecessary responsive pleadings, and the resulting

                                                      19   fees and costs associated with the same. A denial of the Motion would lead to inefficiency and a

                                                      20   lack of economy, both of which are unfairly prejudicial to Defendants.

                                                      21   C.         Granting the Interim Stay will Reduce the Amount of Judicial Resources Expended
                                                      22              Perhaps most significantly, an interim stay pending the Court’s decision on the Joint

                                                      23   Motion will conserve the Court’s resources and will allow the Court to adjudicate this case in an

                                                      24   efficient manner. As Defendants explain in the Joint Motion to stay, the forthcoming Emulex

                                                      25   decision by the Supreme Court bears directly and potentially decisively on the legal issues at

                                                      26   hand. Indeed, any written decision at all by the Supreme Court will provide substantial guidance

                                                      27   to this Court and the parties in resolving this dispute. Even if that were not the case, if this Court

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                                                               Available at: https://www.supremecourt.gov/oral_arguments/calendars/MonthlyArgumentCalApril2019.html

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                                                       1   denies this Motion, Defendants Proceeding in the absence of such guidance is inefficient, a waste

                                                       2   of the Court’s and all parties’ resources.
                                                                                                            III.
                                                       3                                                CONCLUSION
                                                       4          Good cause exists to stay these proceedings temporarily pending the Court’s

                                                       5   determination on the Joint Motion. For this reason, as well as the reasons explained above,

                                                       6   Defendants request that the Court grant their Motion and Order an interim stay pending resolution

                                                       7   of the Joint Motion.

                                                       8
                                                                  DATED this 13th day of February, 2019.
                                                       9
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                                                           Case 2:18-cv-01355-APG-CWH Document 32 Filed 02/13/19 Page 8 of 8



                                                       1                                    CERTIFICATE OF SERVICE

                                                       2          I, JULIA M. DIAZ, hereby certify that on February 13, 2019, I electronically filed the

                                                       3   foregoing document through the CM/ECF system, which will send notification of such filing to

                                                       4   all registered participants as identified on the Notice of Electronic Filing. Parties may access this

                                                       5   filing through the Court’s CM/ECF System.

                                                       6
                                                                  DATED this 13th day of February, 2019.
                                                       7

                                                       8                                                          /s/ Julia M. Diaz
                                                                                                                  An Employee of SNELL & WILMER L.L.P.
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